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 7   Administrative CofQoration and Board of Trustees
     For the Carpenters Southwest Trusts
 8

 9                           UNITED STATES DISTRICT COURT
10                                      DISTRICT OF ARIZONA
11

12   HKB, INC., an Arizona corporation,              No. 2:16-cv-03799-DJH
     doing business as Southwest                     No. 2:17-cv-00198-DJH
13   Industrial Rigging,

14                         Plaintiff,                DEFENDANTS' NOTICE OF
15   v.                                              SERVICE OF DISCOVERY
                                                     DOCUMENTS
16   Board of Trustees for the
     Carpenters Southwest
17   Trusts, erroneously sued as Board
     Of Trustees for the                             Before The Honorable
18   Southwest Carpenter's                             Diane J. Humetawa
     Southwest Trust; et al
19                         Defendants.
20   Caq1enters Southwest
     Adri:tinistrative Corporation,
21   et al

22                         Plaintiffs,

23   v.
     H K B Inc., et al
24
                           Defendants.
25

26   Ill
27   Ill
28                                               1
               DEFENDANTS' NOTICE OF SERVICE OF DISCOVERY DOCUMENTS
      Case 2:16-cv-03799-DJH Document 64 Filed 03/05/19 Page 2 of 3


 1         PLEASE TAKE NOTICE that on March 1, 2019, the Defendant, Board of
 2   Trustees for the Carpenters Southwest Trusts, served upon Plaintiff H K B Inc., by
 3   electronic service and first class mail, the following documents:
 4         1.     Defendant Board of Trustees for the Carpenters Southwest Trusts'
 5                Responses to HKB, Inc.'s Request for Production of Documents;
 6         2.     Defendant Board of Trustees for the Carpenters Southwest Trusts'
 7                Responses to HKB, Inc.'s Requests for Admission;
 8         3.     Defendant Board of Trustees for the Carpenters Southwest Trusts'
 9                Responses to HKB, Inc.'s First Set ofNon-Uniform Interrogatories.
10
11
     Dated: March 4, 2019                   DeCARLO & SHANLEY,
12                                          a Professional Corporation
13
                                            By:~·~'­
14
                                            Atto~~-----~
15                                          CaqJenters Southwest
                                            Administrative Corporation
16                                          and Board of Trustees for the Carpenters
                                            Southwest Trusts
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                DEFENDANTS' NOTICE OF SERVICE OF DISCOVERY DOCUMENTS
              Case 2:16-cv-03799-DJH Document 64 Filed 03/05/19 Page 3 of 3

                                 CERTIFICATE OF SERVICE

                         (H K B, Inc., etc., v. Board of Trustees, etc.)
                        (USDC-Arizona Case No. 2:16-cv-03799DJH)


      I hereby certify that on March 5, 2019, I electronically transmitted the attached
document, DEFENDANTS' NOTICE OF SERVICE OF DISCOVERY DOCUMENTS, to
the Clerk's Office using the CM/ECF System for filing and transmittal of a Notice of
Electronic Filing to the following CM/ECF registrants:

James Edward Holland, Jr. - james.holland@stinson.com; linda.holder@stinson.com
Javier Torres- javier.torres@stinson.com, chris.roundtree@stinson.com




and by First Class Mail, addressed as follows:

      Nicholas James Begakis
      LimNexis LLP
      1055 W 7th St., 28th Fl.
      Los Angeles, CA 90017

in said action, by placing [X] a true copy thereof, []an original enclosed in sealed envelope(s).

(BY MAIL) I placed such envelopes with postage thereon fully prepaid in the United States
Mail at 533 South Fremont Avenue, Los Angeles, California 90071.

                  Executed on March 5, 2019, at Los Angeles, California.

       I declare that I am employed in the office of a member of the bar of this court at whose
direction the service was made.



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